                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                                 OCALA DIVISION

     UNITED STATES OF AMERICA

     VS.                                                            CASE NO: 5:20-cr-40-Oc-28PRL

     CHRISTINA LYNN CATALANO and
     JOSEPH SAMUEL CATALANO


                                    CRIMINAL SCHEDULING ORDER

             The defendant has been arraigned. To initiate a simple self-executing discovery procedure; to

     reduce expense and delay by eliminating routine or standard discovery motions for which established rulings

     and precedent exist; to encourage voluntary disclosure by the prosecution and by the defense; to facilitate the

     effective assistance of counsel; and to secure a just determination, this scheduling order will control the

     subsequent course of this criminal proceeding. See Fed. R. Crim. P. 2; Local Rule 1.01(b). The parties

     shall comply with the following discovery and scheduling requirements without the need for further

     discovery motions or demands:

I.           DISCOVERY AND INSPECTION

             A.      Opting Out

                     1.       Defendant’s Election Not to Request Disclosure — This Order deems each
                              party to have requested disclosure to the full extent allowed by Fed. R. Crim. P. 16.
                              Within seven (7) days of the date of this order, however, a defendant may file and
                              serve by hand delivery a written notice electing not to request disclosure under Fed.
                              R. Crim. P. 16(a)(1)(E), (F), and (G). To be effective, the written notice must
                              specify the precise subsection or subsections of Fed. R. Crim. P. 16(a)(1) under
                              which the defendant elects not to request disclosure. Where a defendant has served
                              timely written notice electing not to request disclosure under one or more specific
                              subsections of Rule 16(a)(1), the government has no obligation to provide disclosure
                              to the extent specified in the defendant’s notice.

                     2.       Reciprocal Disclosure of Documents, Objects, Reports — A defendant who
                              has filed and served timely written notice electing not to request disclosure under
                              Fed. R. Crim. P. 16(a)(1)(E) (relating to documents and objects), Rule 16(a)(1)(F)
                              (relating to reports of examinations and tests), and Rule 16(a)(1)(G) (relating to
                              expert witnesses) has no obligation to provide reciprocal discovery to the
                              government pursuant to Rule 16(b)(1)(A), (B), and (C).
     3.      Disclosure Regarding Experts — A defendant who has filed and served timely
             written notice electing not to request disclosure under Rule 16(a)(1)(G) (relating to
             expert witnesses), and who has not filed and does not intend to file a notice pursuant
             to Rule 12.2(b) (relating to expert evidence of a mental condition), has no obligation
             to provide reciprocal discovery to the government pursuant to Rule 16(b)(1)(C)(i).

     4.      Order of Compliance Unchanged — This order imposes no obligation on a
             defendant to provide reciprocal discovery under a subsection of Fed. R. Crim. P.
             16(b)(1) until the government has complied with its obligations pursuant to Rule
             16(a)(1)(E), (F), and (G).

     5.      Other Requirements — The filing and service of an opt-out notice under this
             paragraph relieves the government of its obligations under ¶ ¶ I (E) - (G) of this
             Order, and relieves the defendant of obligations under ¶ ¶ I (Q) - (S) of this Order,
             only to the limited extent specified above. The filing and service of a notice under
             this paragraph does not otherwise relieve a party of any obligation to comply with
             the requirements of this Order.

B.   Oral Statements of the Defendant — Within fourteen (14) days from the date of this
     Order, the government shall disclose to the defendant, to the extent required by Fed. R. Crim.
     P. 16(a)(1)(A), and make available for inspection, copying, or photographing, that portion
     of any written record containing the substance of any relevant oral statement made by the
     defendant, whether before or after arrest, in response to interrogation by any person then
     known to the defendant to be a government agent, as well as the substance of any such oral
     statement that the government intends to use trial. Similarly, the government shall disclose
     to an organizational defendant the information required by Fed. R. Crim. P. 16(a)(1)(C).

C.   Written or Recorded Statements of the Defendant — Within fourteen (14) days from
     the date of this Order, the government shall disclose to the defendant, to the extent required
     by Fed. R. Crim. P. 16(a)(1)(B), and make available for inspection, copying, or
     photographing, any relevant written or recorded statements made by the defendant, or copies
     of the statements, within the government’s possession, custody or control, the existence of
     which is known or through the exercise of due diligence may become known to the attorney
     for the government, including recorded testimony of the defendant before a grand jury which
     relates to the offense charged. Similarly, the government shall disclose to an organizational
     defendant the information required by Fed. R. Crim. P. 16(a)(1)(C).

D.   Prior Record — Within fourteen (14) days of the date from this Order, the government
     shall furnish to the defendant, to the extent required by Fed. R. Crim. P. 16(a)(1)(D), a copy
     of the defendant’s prior criminal record, if any.

E.   Documents and Objects — Within fourteen (14) days from the date of this Order, the
     government shall permit the defendant, to the extent required by Fed. R. Crim. P.
     16(a)(1)(E), to inspect and copy or photograph books, papers, documents, data, photographs,
     tangible objects, vehicles, vessels, aircraft, buildings or places which are within the
     possession, custody or control of the government, and which are material to the preparation
     of the defendant’s defense, or are intended for use by the government as evidence in chief at
     the trial, or were obtained from or belong to the defendant.

F.   Reports of Examinations and Tests — Within fourteen (14) days from the date of this
     Order, the government shall permit the defendant, to the extent required by Fed. R. Crim. P.
     16(a)(1)(F), to inspect and copy or photograph any results or reports of physical or mental
     examinations, and of scientific tests or experiments, which are within the possession, custody



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     or control of the government, the existence of which is known, or by the exercise of due
     diligence may become known, to the attorney for the government, and which are material to
     the preparation of the defendant’s defense, or are intended for use by the government as
     evidence in chief at the trial. The government shall provide to the defendant, for
     independent expert examination, copies of all latent fingerprints or palmprints which have
     been identified by a government expert as those of the defendant.

G.   Expert Witnesses — Within fourteen (14) days from the date of this Order, the
     government shall disclose to the defendant, to the extent required by Fed. R. Crim. P.
     16(a)(1)(G), a written summary of any testimony that the government intends to use under
     Fed. R. Evid. 702, 703, or 705 during its case-in-chief at trial. This summary must describe
     the witnesses’ opinions, the bases and the reasons for the opinions, and the witnesses’
     qualifications. Within seven (7) days of service on the government of the defendant’s
     summary of testimony pursuant to Fed. R. Crim. P. 16(b)(1)(C) (relating to expert testimony
     on the defendant’s mental condition after notice under Rule 12.2 (b)) [see ¶ I (S) below], the
     government shall disclose to the defendant a written summary of testimony on the issue of
     the defendant’s mental condition pursuant to the second sentence of Rule 16(a)(1)(G).

H.   Electronic Surveillance — Within fourteen (14) days from the date of this Order, the
     government shall disclose to the defendant the nature and extent of the use of electronic
     surveillance (including wiretapping, consensual monitoring, body wires, tape recordings,
     transmission devices, videotape recordings, bank surveillance recordings, pen registers) or
     mail covers conducted by law enforcement officers or witnesses in investigating this case,
     and also disclose the existence of all recordings obtained and final transcripts made during
     the investigation, regardless of whether the government intends to use the recordings and
     transcripts in its case-in-chief.

I.   Rule 404 (b) Evidence — Within fourteen (14) days from the date of this Order, the
     government shall disclose to the defendant in writing the general nature of evidence of other
     crimes, wrongs, or acts by the defendant that the government intends to introduce at trial
     pursuant to Fed. R. Evid. 404(b), as well as the general purpose of the evidence (e.g., proof
     of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake
     or accident). The government’s written disclosure shall characterize the defendant’s
     specific prior conduct to a degree that fairly apprizes the defendant of its general nature.
     Absent good cause shown, failure to make this disclosure will bar the use at trial of any such
     evidence. Within the time frame established in ¶ II (B) of this Order, the defendant shall
     file a motion in limine stating any objection to the introduction of the Rule 404(b) evidence.

J.   Confidential Informants — Within fourteen (14) days from the date of this Order, the
     government shall disclose to the defendant whether it has used a confidential informant in
     investigating this case.

K.   Conflict of Interest — Within fourteen (14) days from the date of this Order, and in any
     event as soon as possible to permit the prompt filing of an appropriate motion, the
     government shall alert counsel for the defendant if the government is aware of a potential
     conflict of interest in the representation of the defendant by such attorney in this case. All
     parties shall inquire of their witnesses about matters that may give rise to a conflict of
     interest, including whether any attorney in the case has previously represented the witness.

L.   Photo Identification — Within fourteen (14) days from the date of this Order, the
     government shall disclose to the defendant whether any witness or individual has identified
     the defendant in any lineup, showup, photo spread or similar identification proceeding, and
     permit the defendant to inspect, copy, and photograph any pictures utilized in or resulting



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     from the identification.

M.   Evidence Seized by Warrant — Within fourteen (14) days from the date of this Order,
     the government shall specify all items seized from a defendant and all the seized evidence,
     if any, that the government intends to introduce in its case in chief at trial and permit the
     defendant to inspect and copy any search warrant and affidavit, together with the inventory
     of any search pursuant to Fed. R. Crim. P. 41, pursuant to which the evidence was seized.

N.   Rough Notes — The government shall advise all law enforcement agents and officers
     involved in this case to retain any rough notes, recordings, reports, and statements pertaining
     to this case which now exist.

O.   Destruction of Evidence — The government shall not destroy any evidence in this case
     without giving fourteen (14) days written notice to all defense counsel. If there is any
     objection filed to the proposed destruction, the government shall not destroy the evidence
     without first having obtained the Court’s approval.

P.   Speedy Trial — The government shall have responsibility for informing the Court of any
     delay in the prompt disposition of this criminal case pursuant to the Speedy Trial Act of
     1974, 18 U.S.C. § 3165 and the Middle District of Florida’s Speedy Trial Plan, Fed. R. Crim.
     P. 50, Local Rule 4.13(c).

Q.   Reciprocal Discovery of Documents and Objects — Within twenty-one (21) days from
     the date of this Order, the defendant shall permit the government, to the extent required by
     Fed. R. Crim. P. 16(b)(1)(A), to inspect and copy or photograph books, papers, documents,
     data, photographs, tangible objects, and buildings or places which are within the possession,
     custody or control of the defendant, and which the defendant intends to introduce as evidence
     in chief at trial, provided that the government has done the same.

R.   Reciprocal Discovery of Reports of Examinations and Tests — Within twenty-one
     (21) days from the date of this Order, the defendant shall permit the government, to the extent
     required by Fed. R. Crim. P. 16(b)(1)(B), to inspect and copy or photograph any results or
     reports of physical or mental examinations, and of scientific tests or experiments, which are
     within the possession, custody or control of the defendant, which the defendant intends to
     introduce as evidence in chief at trial, or which were prepared by a witness whom the
     defendant intends to call at the trial when the results or reports relate to that witness’
     testimony, provided that the government has done the same or has disclosed that no such
     reports exist.

S.   Reciprocal Discovery of Expert Witnesses — Within twenty-one (21) days from the
     date of this Order, the defendant shall disclose to the government, under the circumstances
     and to the extent required by Fed. R. Crim. P. 16(b)(1)(C), a written summary of testimony
     that the defendant intends to use under Fed. R. Evid. 702, 703, or 705 as evidence at trial.
     This summary must describe the witnesses’ opinions, the bases and the reasons for the
     opinions, and the witnesses’ qualifications. Within seven (7) days of the filing and service
     of notice under Fed. R. Crim. P. 12.2(b) of an intent to present expert testimony on the
     defendant’s mental condition [see ¶ II (C) below], a defendant shall disclose to the
     government a written summary of testimony to the extent required by Fed. R. Crim. P.
     16(b)(1)(C).

T.   Brady Material — No later than fourteen (14) days before the first day of the trial term
     in which this case is set for trial [see ¶ III (B) below], the government shall disclose to the
     defendant, and permit the defendant to inspect and copy, all information and material known



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           to the government which may be favorable to the defendant on the issue of guilt or
           punishment to the extent required by Brady v. Maryland, 373 U.S. 83 (1963); United States
           v. Agurs, 427 U.S. 97 (1976); United States v. Bagley, 473 U.S. 667 (1985); and Kyles v.
           Whitley, 514 U.S. 419 (1995).

      U.   Giglio Material — No later than fourteen (14) days before the first day of the trial term
           in which this case is set for trial [see ¶ III (B) below], the government shall disclose to the
           defendant the existence and substance of any payments, promises of immunity, leniency,
           preferential treatment, or other inducements made to prospective government witnesses to
           the extent required by Giglio v. United States, 405 U.S. 150 (1972) and Napue v. Illinois,
           360 U.S. 264 (1959). For each witness (under every name used by the witness) who will
           testify for the government at trial, the government shall supply the defendant with a record
           of all prior convictions of the type that may be used to impeach a witness pursuant to Fed.
           R. Evid. 609. The government shall make available any application to the Court for
           immunity of a witness, as well as any order issued in response to the application.

      V.   Jencks Act Material — All parties shall be prepared to comply with the Jencks Act, 18
           U.S.C. § 3500 and Fed. R. Crim. P. 26.2 relating to the production of witness statements on
           demand after the witness has testified on direct examination. The parties may agree on —
           but the Court does not order — an earlier time for the exchange or production of Jencks
           Act and Rule 26.2 material. See Fed. R. Crim. P. 16(a)(2).

      W.   Continuing Duty to Disclose — No later than seven (7) days after it comes into the
           possession of counsel, all parties shall disclose to opposing counsel or the Court additional
           newly-discovered evidence or material which is subject to discovery, as required by Fed. R.
           Crim. P. 16(c).

      X.   Agreed Extensions — The Court recognizes and encourages the tradition of agreement
           and cooperation among counsel in discovery and inspection without Court involvement.
           Without the need for a Court order, the parties may agree in writing, see Local Rule 4.15, to
           extend or modify the times allowed above in ¶ I of this order for discovery and inspection,
           provided that the agreed extension or modification does not alter, disrupt, or delay the trial,
           the status conference, or the timely filing and resolution of pretrial motions as established
           below.

      Y.   Notice with the Court — At such time as the Government has provided all discovery
           material to defense counsel, the Government shall file a notice with the Court, which notice
           shall state: 1) the date the discovery was furnished and 2) the contents of such discovery (if
           confidential, under seal) to include what information mandated by paragraph I. B-W has
           been provided.

II.   MOTIONS AND NOTICES

      A.   Notice Regarding Recusal — Within fourteen (14) days from the date of this order, the
           government shall file and serve a notice listing each person or non-governmental entity of
           which it is aware who now has, or in the future may have, a financial interest in the subject
           matter in controversy, or in a party to this proceeding. The notice shall include 1.) each
           victim of the charged conduct who may be entitled to restitution; 2.) each person or non-
           governmental entity who may claim an interest in forfeitable assets; 3.) each corporation,
           partnership, or association that is controlled by a defendant; and 4.) each publicly-traded
           corporation that is a parent, subsidiary, or affiliate of a victim or otherwise interested
           corporation. Each party has a continuing obligation to file and serve a notice regarding
           recusal on learning of any ground for recusal or disqualification of a judicial officer or



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                     counsel.

           B.        Filing Deadline for Motions and Notices — Within twenty-one (21) days from the date
                     of this Order, the parties shall file and serve all motions (with memoranda and certificate)
                     and all notices. See Fed. R. Crim. P. 12(c); Local Rule 3.01(a).

           C.        Types of Motions — This filing deadline applies to all discovery motions, if any, not
                     covered by this order; to all notices (including notices under Fed. R. Crim. P. 12(b)(4), 12.1,
                     12.2, and 12.3); and to all non-discovery and dispositive motions (including motions for a
                     bill of particulars, to dismiss the indictment, to strike, to suppress evidence, to sever, for a
                     James or Bruton hearing, and motions in limine to exclude the use of evidence under Fed.
                     R. Evid. 404(b)). The Court encourages the early filing of other motions in limine,
                     including motions to exclude or limit the admissibility of evidence under Fed. R. Evid. 403,
                     although such motions are excluded from the above filing deadline. The parties shall
                     refrain from filing unnecessary discovery motions concerning matters covered in this
                     order. Any such motions will be denied as moot.

           D.        Certificate Required in Motions — Before filing any motion in a criminal case that is
                     not an ex parte motion, the moving party shall confer with counsel for the opposing party in
                     person or by telephone (but not solely by letter or facsimile) in a good faith effort to resolve
                     the issues raised by the motion, and shall include in the motion a statement certifying 1.)
                     that the moving counsel has conferred with opposing counsel; 2.) that counsel have
                     been unable to resolve the motion by agreement; and 3.) that the motion concerns
                     matters which are not covered by the scheduling order. The Court will deny without
                     prejudice motions filed without the required certificate. Except where the certificate
                     specifies timely calls or visits comprising a significant good faith effort by the movant to
                     confer, the Court will also deny without prejudice motions that merely certify an “attempt”
                     to confer. Subject to the constraints specified in this Order, a lawyer should respond
                     promptly to inquiries and communications from opposing counsel. Board of Governors of
                     the Florida Bar, Ideals and Goals of Professionalism (adopted May 16, 1990), 70 Florida
                     Bar Journal 686, 687 ¶ 6.10 and Creed of Professionalism ¶ 8.

           E.        Waiver — Failure to raise defenses or objections by timely motion shall constitute
                     waiver. Relief from waiver may be granted for cause on a showing of excusable neglect.

           F.        Memoranda in Opposition — Each party opposing any written motion shall file and
                     serve, within fourteen (14) days after being served with such motion, a memorandum with
                     citation of authorities in opposition to the relief requested. Local Rule 3.01(b). An
                     unopposed motion is subject to being granted as unopposed unless covered by this order, in
                     which case the motion will be denied as moot.

           G.        Jury Instructions, Verdict Form, Voir Dire Questions and Witness Lists — Unless
                     requested earlier by the Court, no later than fourteen (14) days before the first day of the
                     trial term in which this case is set for trial [see ¶ III (B) below], counsel shall file and serve
                     a single set of jointly proposed questions for the Court to ask the venire during voir dire, a
                     single set of proposed jury instructions, a single proposed verdict form and the parties'
                     respective witness lists. Jury instructions shall be based on the Eleventh Circuit Pattern Jury
                     Instructions. At the time of filing the voir dire questions, jury instructions and verdict
                     form, the parties shall provide an electronic copy of same to chambers via e-mail in
                     WordPerfect 10.0 (or later) format.1


1   E-mail should be sent to the chambers e-mail address of the presiding judge, which can be found on CM/ECF.



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       H.     Demonstrative Exhibits — The Court requires demonstrative exhibits that parties
              intend to use in opening statements be given to opposing counsel no later than one full
              work day (24 hours) prior to the commencement of trial.

III.   SCHEDULING

       A.     Status Conference — This case is set for a status conference before the Honorable John
              Antoon II on OCTOBER 23, 2020, at 10:00 AM, in Courtroom #3A, Third Floor, U.S.
              Courthouse, 207 N.W. Second Street, Ocala, Florida. The district court may reject as
              untimely any plea agreements filed after the status conference. Defendant’s presence
              is not required at the status conference. See Fed. R. Crim. P. 43(c)(3).

       B.     Trial — This case is set for trial before the Honorable John Antoon II, United States
              District Judge on the trial term commencing NOVEMBER 2, 2020, at 9:00 AM After
              the first day of the trial term, all counsel shall be available and ready for trial on twenty-
              four (24) hours notice.

       DONE AND ORDERED in Ocala, Florida on this 9th day of September, 2020.




Copies furnished to:

Counsel of Record




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